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                                   STATEMENT OF FACTS
        Your affiant, Kelsey Randall, is a Special Agent with the Federal Bureau of Investigation
(FBI). I am assigned to the FBI Joint Terrorism Task Force. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a federal
law enforcement officer, I am authorized by law or by a government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of violations of Federal criminal
laws.
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.
        On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the U.S. House of Representatives and the U.S. Senate were meeting in separate chambers of
the U.S. Capitol to certify the vote count of the Electoral College of the 2020 Presidential
Elections, which had taken place on November 3, 2020. The joint session began at approximately
1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate adjourned to
separate chambers to resolve a particular objection. Vice President Mike Pence was present and
presiding, first in the joint session, and then in the Senate chamber.
       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.
       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.
       Shortly thereafter, at approximately 2:20 p.m., members of the U.S. House of
Representatives and the U.S. Senate, including the President of the Senate, Vice President Mike
Pence, were instructed to-and did-evacuate the chambers. Accordingly, the joint session of the
U.S. Congress was effectively suspended until shortly after 8:00 p.m. Vice President Pence
remained in the U.S. Capitol from the time he was evacuated from the Senate Chamber until the
sessions resumed.
       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of

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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
   1. Initiation of Investigations into COOMER, ABATE, and HELLONEN
       Following the events on January 6, 2021, the FBI learned that Micah Coomer (COOMER)
posted on Instagram account “mrcoomer08” a collection of photographs with the caption “Glad to
be apart [sic] of history”. The angles of the pictures in conjunction with the caption indicate that
Instagram user “mrcoomer08” was unlawfully inside the U.S. Capitol building on January 6, 2021.




       On August 13, 2021, a federal search warrant was served on Facebook authorizing the
search of Instagram account “mrcoomer08”. Facebook records show the subscriber of Instagram
account “mrcoomer08” has a name of Micah Coomer and telephone number xxx-xxx-7358 (Phone
7358). Additionally, Department of Defense database check identified COOMER as an active duty
United States Marine. In COOMER’s official military personal file, he listed his telephone number
as Phone 7358.
        Additionally, the data provided by Facebook included direct message conversations
between COOMER and other Instagram users. In a conversation that occurred on November 07,
2020 between COOMER and Instagram user 22956548525, COOMER wrote about his beliefs that
the election was unfair and fraudulent.




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        In a different conversation that occurred on January 31, 2021 between COOMER and
Instagram user 1790755272, COOMER stated his belief “that everything in this country is
corrupt. We honestly need a fresh restart. I’m waiting for the boogaloo”. When Instagram user
1790755272 asked, “What’s a boogaloo” COOMER responded “Civil war 2”.




       Using COOMER’s Indiana driver’s license photograph, law enforcement identified
COOMER, identified by the red circle below, inside the U.S. Capitol Building on January 6, 2021.
Video footage also identified two male individuals who walked throughout the U.S. Capitol
Building with him – Joshua Abate (ABATE), identified by the green circle below, and Dodge Dale
Hellonen (HELLONEN), identified by the blue circle below.




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   2. Trespass into the U.S. Capitol Building by COOMER, ABATE, and HELLONEN
        A review of surveillance camera footage and open-source materials confirm COOMER,
ABATE, and HELLONEN unlawfully entered the U.S. Capitol Building on January 6, 2021.
COOMER wore a red baseball cap, a black Under Armor sweatshirt with neon outline, and a green
puff jacket. ABATE wore a baseball cap with a rectangular design on the front, with a plaid jacket
and jeans. HELLONEN wore a dark colored jacket, dark colored pants, and carried a yellow
“Don’t Tread on Me” flag.
       At approximately 2:20 PM EST, COOMER, ABATE, and HELLONEN entered the U.S.
Capitol Building through the Senate Wing Door and proceed to walk South down a hallway.




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       COOMER, ABATE, and HELLONEN are next observed inside the Memorial Door.




        At approximately 2:32 PM EST, COOMER, ABATE, and HELLONEN enter the
Rotunda through the South entrance. The group remained in the Rotunda for a couple minutes
before leaving through the South entrance.




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While inside, they placed a red MAGA hat on one of the statues to take photos with it.




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       COOMER, ABATE, and HELLONEN are then observed inside the Statuary Hall.




         COOMER, ABATE, and HELLONEN return to the Rotunda through the South entrance.
The group remains inside the Rotunda for approximately 30 minutes until police arrive and form
a line to direct people out of the Building.




        As COOMER, ABATE, and HELLONEN traveled throughout the U.S. Capitol Building,
surveillance camera footage captured all three of the men using their cellular devices to take
pictures, videos, and answer phone calls.




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       At approximately 3:12 PM EST, COOMER, ABATE, and HELLONEN exit the U.S.
Capitol Building through the Rotunda Door having been inside for approximately 52 minutes.




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   3. Identification of COOMER, ABATE, and HELLONEN

   A. COOMER
        COOMER’s military identification card, also known as a common access card (CAC), was
compared to the profile picture of Instagram account “mrcoomer08” and a picture captured outside
the U.S. Capitol on January 6, 2021. The individual in all three photographs had similar facial
features. Additionally, these photographs were a positive match when compared to COOMER’s
Indiana driver’s license.




   Witness 1, a member of the U.S. Marine Corps who was stationed at Marine Corps Base
Quantico with COOMER, identified COOMER from footage captured inside the U.S. Capitol

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Building. In two of the photographs, below, Witness 1 was able to positively identify the individual
as COOMER.




       According to records obtained through a search warrant which was served on Verizon, on
January 6, 2021, in and around the time of the incident at the U.S. Capitol the same day, the cell
phone associated with Phone 7358 was identified as having utilized a cell site consistent with
providing service to a geographic area that included the interior of the U.S. Capitol Building at
some point from approximately 1300 to 1830 on January 6, 2021.


   B. HELLONEN


    HELLONEN’s CAC was compared to a picture captured outside the U.S. Capitol on January
6, 2021. The individual in both photographs had similar facial features. Additionally, these
photographs were a positive match when compared to HELLONEN’s Michigan driver’s license.




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       Witness 2, a member of the U.S. Marine Corps who was stationed Marine Corps Base
Camp Lejeune with HELLONEN, identified HELLONEN from his military CAC and footage
captured inside the U.S. Capitol Building, below.




       Military records identified HELLONEN’s telephone number as XXX-XXX-0119 (Phone
0119). Phone 0119 was also identified as having utilized a Verizon cell site consistent with
providing service to a geographic area that included the interior of the U.S. Capitol Building at
some point from approximately 1300 to 1830 on January 6, 2021.



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   C. ABATE
   ABATE’s CAC was compared to a pictured captured inside the U.S. Capitol on January 6,
2021. The individual in both photographs had similar facial features. Additionally, these
photographs were a positive match when compared to ABATE’s Virginia driver’s license.




    Witness 3, a member in the U.S. Marine Corps, identified ABATE from his military CAC and
footage captured inside the U.S. Capitol Building, both photographs provided above.
       Additionally, on or about June 1, 2022, ABATE was interviewed as part of his security
clearance. During the interview, ABATE discussed entering the U.S. Capitol Building on January
6, 2021 with two “buddies”. ABATE stated they walked through the U.S. Capitol and in the
Rotunda. While in the Rotunda, ABATE’s friend smoked a cigarette and they “walked around and
tried not to get hit with tear gas”. ABATE also admitted he heard how the event was being
portrayed negatively and decided that he should not tell anybody about going into the U.S. Capitol
Building.
        Based on the foregoing, your affiant submits that there is probable cause to believe that
COOMER, ABATE, and HELLONEN violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it
a crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions; or attempts
or conspires to do so. For purposes for Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
     Your affiant submits there is also probable cause to believe that COOMER, ABATE, and
HELLONEN violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully

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and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in the building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.




                                     _____________________________________________
                                     KELSEY RANDALL
                                     Special Agent
                                     Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4. 1
by telephone, this WKday of January, 2023.


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                                      ZIA M. FARUQUI
                                      U.S. MAGISTRATE JUDGE




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